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                     IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

Nikki Thompson
                                        )   Case No.: 3:20-cv-357
                                        )
                                        )   Judge Thomas Rose
        Plaintiff,                      )
                                        )   ORDER OF DISMISSAL:
v.                                      )   TERMINATION ENTRY
                                        )
Equifax Information Services, LLC       )
                                        )
        Defendants.                     )
                                        )

       The Court having been advised by counsel for the parties that the above

matter has been settled, IT IS ORDERED that this action is hereby DISMISSED,

with prejudice as to the parties, provided that any of the parties may, upon good

cause shown within 60 days, reopen the action if settlement is not consummated.

       Parties may submit a substitute Judgment Entry once settlement is

consummated. Parties intending to preserve this Court’s jurisdiction to enforce the

settlement should be aware of Kokkonen v. Guardian Life Ins. Co. of America, 114

S.Ct. 1673 (1994), and incorporate appropriate language in any substituted

judgment entry.

       IT IS SO ORDERED.

October 15, 2020                             *s/Thomas M. Rose

                                             ____________________________________
                                             Honorable Thomas M. Rose
                                             United States District Judge
